            Case 2:12-cr-00185-TLN Document 75 Filed 05/20/13 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JASON HITT
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
 5

 6

 7                   IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,     )           Case No. 2:12-cr-0185 TLN
                                   )
11                  Plaintiff,     )           ORDER TO EXCLUDE TIME
                                   )
12        v.                       )
                                   )
13   ROBB CHEAL et al.,            )
                                   )
14                                 )
                    Defendants.    )
15   ______________________________)
16
           On May 9, 2013, the Court held a status conference in this
17
     case and ordered a further status conference to be held on June
18
     6, 2013, at 9:30 a.m.     During the hearing, counsel for each
19
     defendant agreed that a further status conference should be held
20
     and that time should be excluded in the interim.          Based upon the
21
     representations and stipulation of counsel, the Court ordered
22
     that the time between May 9, 2013, and June 6, 2013, should be
23
     excluded from the calculation of time under the Speedy Trial Act.
24
     The   ends of justice are served by the Court excluding such time,
25
     so that counsel for the defendant may have reasonable time
26
     necessary for effective preparation, taking into account the
27
     exercise of due diligence.      18 U.S.C. § 3161(h)(7)(B)(iv).
28

                                          1
              Case 2:12-cr-00185-TLN Document 75 Filed 05/20/13 Page 2 of 2


 1   Specifically, defendants anticipate continuing to review the
 2   discovery in this case, and conducting independent defense
 3   investigation into the facts and circumstances of any possible
 4   defenses.     Time is necessary for the parties to proceed either
 5   with further discovery, litigation, or resolution of the case.
 6   The interests of justice served by granting this continuance
 7   outweigh the best interests of the public and the defendant in a
 8   speedy trial.     18 U.S.C. § 3161(h)(7)(A).
 9        IT IS SO ORDERED.
10

11   DATED:      May 17, 2013
12

13

14
                                                    Troy L. Nunley
                                                    United States District Judge
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            2
